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 5   Attorney for Defendant
     Nicholas Ramirez
 6
                     IN THE UNITED STATES DISTRICT COURT
 7
               IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,         )   Case No. Cr.S 11-190 MCE
10                                     )
               Plaintiff,              )   STIPULATION TO CONTINUE
11                                     )   STATUS
         vs.                           )
12                                     )   ORDER
     NICHOLAS RAMIREZ,                 )
13   STEPHANIE BROWN                   )
                                       )
14             Defendant               )
                                       )
15

16                                 STIPULATION
17       Plaintiff United States of America, by and through its
18
     counsel of record, and the defendant’s herein, by and through
19
     their counsel of record, hereby stipulates as follows:
20
         By previous order, this matter was set for status on July
21
     30, 2015, 2015.
22
         By this stipulation, defendants now move to continue the
23
     status conference until November 19, 2015 and to exclude time
24
     between July 30, 2015, and November 19, 2015 under Local Code
25
     T4. Plaintiff does not oppose this request.


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 1       Counsel for defendants desire additional time to review
 2   documents and to consult with their clients in efforts to
 3
     resolve this case.
 4
         The government does not object to the continuance.
 5
         Based on the above-stated findings, the ends of justice
 6
     served by continuing the case as requested outweigh the interest
 7
     of the public and the defendant in a trial within the original
 8
     date prescribed by the Speedy Trial Act.
 9
         For the purpose of computing time under the Speedy Trial
10
     Act, 18 U.S.C. § 3161, et seq., within which trial must
11

12
     commence, the time period of July 30, 2015, to November 19,

13   2015, inclusive, is deemed excludable pursuant to 18 U.S.C.§

14   3161(h)(7)(A), B(iv) [Local Code T4] because it results from a

15   continuance granted by the Court at defendant’s request on the

16   basis of the Court's finding that the ends of justice served by
17   taking such action outweigh the best interest of the public and
18
     the defendant in a speedy trial pursuant to 18 U.S.C. § 3161(h).
19

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           Case 2:11-cr-00190-KJM Document 246 Filed 07/28/15 Page 3 of 4


 1       Nothing in this stipulation and order shall preclude a
 2   finding that other provisions of the Speedy Trial Act dictate
 3
     that additional time periods are excludable from the period
 4
     within which a trial must commence.
 5

 6
     DATED: July 27, 2015                     Respectfully submitted
 7

 8
                                              /S/MICHAEL B. BIGELOW
 9                                            Michael B. Bigelow
                                              Attorney for Nicholas Ramirez
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 1
     IT IS SO STIPULATED
 2

 3
     /S/ JASON HITT
     Jason Hitt, Esq.,                               Dated: July 27, 2015
 4
     Assistant United States Attorney
 5   Attorney for Plaintiff

 6

 7   /S/MICHAEL B. BIGELOW                           Dated: July 27, 2015
     Michael B. Bigelow
 8   Attorney for Defendant
     Nicholas Ramirez
 9
     /s/Dina Santos
10   Dina Santos,                                    Dated: July 27,, 2015
     Attorney for
11
     Stephanie Brown
12

13
                                           ORDER
14
         Pursuant to preceding stipulation, the above referenced
15
     matter is continued until November 19, 2015, at 9:00 AM, and
16
     time excluded for the reasons set forth above.
17
         IT IS SO ORDERED.
18
     Dated:     July 27, 2015
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